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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 IN RE: Acetaminophen – ASD-ADHD
 Products Liability Litigation                               Docket Nos.: 22-md-3043 (DLC)
                                                                          22-mc-3043 (DLC)
 This Document Relates to: _________________________




                                   PLAINTIFF FACT SHEET

        This Fact Sheet must be completed by each adult plaintiff who has filed a lawsuit related
to the Plaintiff Child(ren)’s alleged in utero exposure to Acetaminophen (“APAP”) products.
Please answer every question to the best of your knowledge. In completing this Fact Sheet, you
are under oath and must provide information that is true and correct to the best of your knowledge.
If you cannot recall all of the details requested, please provide as much information as you can.
“Unknown,” as an answer means that you do not have any knowledge regarding the information
being requested by the question. You will be able to, and must, supplement your responses if you
learn that they are incomplete, incorrect, or you come to possess knowledge for an answer you
previously marked as “unknown,” in any material respect.

        In filling out this form, please use the following definitions: (1) the terms “Plaintiff,”
“Plaintiffs,” “you,” and “your” refer to the adult individual(s) referenced in the caption of this
Plaintiff Fact Sheet; (2) the term “Birth Mother” refers to the mother of any Plaintiff Child(ren)
alleged to have taken APAP products while pregnant with any Plaintiff Child; (3) the term
“Plaintiff Child(ren)” refers to the child(ren) allegedly exposed to APAP products in utero who
later developed Autism Spectrum Disorder (“ASD”) or Attention-Deficit/Hyperactivity Disorder
(“ADD” and “ADHD”) on whose behalf claims are asserted by Plaintiff; (4) the term “document”
means any writing or record of any type that is in your possession or accessible to you (as defined
in Section V.A. below), including but not limited to written documents, documents in electronic
format, cassettes, videotapes, photographs, charts, computer discs or tapes, and x-rays, drawings,
graphs, phone records, non-identical copies, and other data compilations from which information
can be obtained and translated, if necessary, by the respondent through electronic devices into
reasonably usable form; (5) “APAP product” means any APAP-containing product, including but
not limited to pure APAP products as well as combination drugs; (6) “Complaint” means the
operative complaint filed in your case, whether original or amended or a subsequent complaint;
and (7) the term “health care provider” means, any hospital, clinic, medical center, physician's
office, medical or diagnostic laboratory, provider of any and all telemedical services, or other
professional medical facility that provides medical, dietary, gynecologic, obstetric, psychiatric, or
psychological care or advice, and any pharmacy, weight loss center, x-ray or radiology department,
laboratory, physical therapist or physical therapy department, physician, psychiatrist, osteopath,
homeopath, chiropractor, psychologist, nutritionist, dietician, or other persons or entities involved
in the evaluation, diagnosis, care, and/or treatment of the Plaintiff Child(ren) and/or the Plaintiff
Child(ren)’s birth mother, as referenced or requested in this Fact Sheet.



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This Plaintiff Fact Sheet is completed pursuant to the Federal Rules of Civil Procedure governing
discovery (or, for state court cases, the governing rules of the state in which the case is pending)
and any MDL Discovery Orders as defined in the MDL Court’s Coordination Order (DE 382
at ¶ 4).


I.      CASE INFORMATION

A. Identification of Person Filling out Plaintiff Fact Sheet

1. Full name of the person completing this form:

2. If you are completing this Plaintiff Fact Sheet in a representative capacity (e.g., on behalf of
   the Plaintiff Mother, the Plaintiff Child, or any Other Plaintiff), please complete the following:
   [Include N/A option]

     a. Current address:

     b. Date of Birth (MM/DD/YYYY):

     c. Relationship to the individual you represent:

     d. If you were appointed by a court, state the:

             i.      Court:

            ii.      Date of Appointment:

B. Information about the Plaintiff Child(ren)

1. Total number of Plaintiff Child(ren) you represent with claims at issue in this suit:
   [Populate and determine number of tables in Section]

2. With respect to each Plaintiff Child who is asserting claims in this lawsuit, please fill out the
   following:
   [Note: The information filled out in this table will populate the Plaintiff Child specific portions
   of this fact sheet, below.]

 Plaintif         Plaintif    Date of   Ag   Claimed Injury        Diagnosis              If yes,
 f Child          f Child     Birth     e                          confirmed by           Date of
 No.              Name        (MM/DD                               medical/assessmen      Diagnosi
                  (First      /                                    t professional?        s
                  Name        YYYY)                                [Y/N]
                  and
                  Last
                  Name)
                                             [Drop-down:
                                             Autism-Spectrum

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                                           Disorder (ASD);
                                           Attention-
                                           Deficit/Hyperactivit
                                           y Disorder
                                           (ADHD); Both]




II.      BIRTH MOTHER

A. Birth Mother’s Identity and Background Information

1. Is Birth Mother different than adult Plaintiff filling out this PFS? [Y/N]

2. Please provide the following information regarding Birth Mother:

      a. Full name:

      b. Maiden name, or other names used, and dates Birth Mother used those names:

              Birth Mother’s Name(s)                  Date(s) Used (MM/YYYY to MM/YYYY)




      c. Date of Birth (MM/DD/YYYY):

      d. Place of Birth (City, State, Zip Code, Country):

      e. Do you have a Social Security Number? [Y/N]

         i.   If “Yes,” please provide it (XXX-XX-XXXX):

        ii.   If “No,” please provide your Driver’s License Number or State Identification Number,
              and the issuing state:

      f. Identify each address at which the Plaintiff/Birth Mother resided while pregnant with each
         Plaintiff Child with claims asserted in this case, as well as the Birth Mother’s current
         address, and the approximate dates the Birth Mother resided at each.

 Address (Street Address, City, State, Zip Code,                  Dates of Residence (MM/YYYY
 Country)                                                         to MM/YYYY)




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3. Has Birth Mother ever filed another personal injury or product liability lawsuit or claim with
   respect to ASD, ADHD or any behavioral or neurodevelopmental disorder on behalf of the
   Plaintiff Child(ren)? [Y/N]

   a.    If “Yes,” please fill out the table below:

 Case          Jurisdiction     Date of    Nature         Injury     Status    Plaintiffs’ Which
 Name                           Filing     of Claim       Claimed              Counsel     Plaintiff
 and                                                                                       Child
 Number




B. Product Identification and Use

1. Do you claim that Birth Mother ingested an APAP product while pregnant with the Plaintiff
   Child(ren)? [Y/N]

   If “Yes,” please fill out the information set forth in the table below with respect to each APAP
   product you contend that Birth Mother ingested during her pregnancy with the Plaintiff
   Child(ren). If Birth Mother took more than one APAP product, or took APAP during her
   pregnancies for multiple Plaintiff Children, you should fill out a separate instance for each by
   adding an additional product table using the “Additional Product” option below.

   Note: For purposes of providing the product name, it is not sufficient to simply write
   “Acetaminophen.” You must provide as much information as you possess at this time
   regarding the full product name as reflected on the packaging so that the parties to this litigation
   are able to identify the product. To the extent you do not know/do not recall the answer to any
   of the questions listed below, you must indicate that you do not know by answering
   “unknown.” You may not leave any field blank.

 Specific product name
 Form (e.g., tablets, capsules, gel caps, extended
 release)
 Strength (mg)
 Bottle or packaging size (i.e., number of pills)
 Where was the APAP product purchased?                    Store name:
                                                          Street Address:
                                                          City, State:
 When was the APAP product purchased?                     [MM/YYYY]
 When did Birth Mother take the APAP                      Date: ______________
 product? (MM/YYYY to MM/YYYY)                            Trimester: [Radio buttons: First, Second,
                                                                      Third]
                                                          Which Plaintiff Child? ________
 Frequency of Use (e.g., times per week)
 Reason for taking the APAP product

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 Did Birth Mother consult with a healthcare            [Y/N]
 provider prior to taking the APAP product?
                                                       If “Yes,” please fill out the following:
                                                           OBGYN identified in Section ______.
                                                           [Include drop-down for OBGYN
                                                           names as filled out in the form]
                                                           OBGYN not identified in Section ___.
                                                           [Insert field for name, address, phone
                                                           number and email for OBGYN]

[Include option to generate Additional Product tables.]

C. Birth Mother’s Medical Background and Social History

1. Has Birth Mother been diagnosed, tested for, or treated for ASD, ADHD, or any other
   neurodevelopmental disorder? [Y/N]

   a. If “Yes,” please provide the following information for each such condition:

 Condition
 Diagnosis Date
 Treatment Date Range
 Name of Treating Healthcare
 Provider(s)
 Address and Phone Number
 for Healthcare Provider(s)
[Include option to insert additional tables as needed for additional conditions]

2. Does Birth Mother have an immediate family history of ASD or ADHD? [Y/N]

   Note: For purposes of this question, “immediate family” includes parents and siblings

   a. If “Yes,” please provide the following information:

 Name                    Date of Birth     Relationship to             Diagnosis
                                           Plaintiff Child(ren)




3. Identify the following information for any OB/GYN who examined, treated, or consulted with
   the Birth Mother for the period covering her pregnancies with Plaintiff Child/Children with
   claims asserted in this case. In responding, you must include each OB/GYN who examined,
   treated, or consulted with the Birth Mother during her pregnancy with each Plaintiff Child.

 OB/GYN Name         Location (City,     Contact               Time Period of      Treatment for
                     State)              Information           Treatment           Pregnancy with
                                                                                   which Plaintiff
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                                        (Phone and                              Child (if
                                        Email)                                  applicable)?

                                                                                [Drop-down]



4. Please indicate whether Birth Mother’s medical history includes any of the following
   conditions, diseases, or illnesses, whether in the past or currently. To the extent you check
   “Yes” to any item in the table below, please provide all corresponding information for that
   condition, disease, or illness, as requested in the table below.

 Condition/Disease/ Yes/       Date/D     Treating    Treatin    Treati     Treati    Medicatio
 Illness            No         ate        Physicia    g          ng         ng        ns taken
                               Range      n(s)        Physicia   Physici    Physici   or other
                                                      n’s        an         an        treatment
                                                      Address    Phone      Email     received
                                                                 Numb                 for
                                                                 er                   Condition/
                                                                                      Disease/Ill
                                                                                      ness
 Obesity
 Auto-immune
 diseases (including
 but not limited to
 Crohn’s disease,
 Ulcerative Colitis)
 Diagnosis of
 depression, anxiety,
 bipolar, or other
 affective/mood
 disorders
 Seizures, seizure
 disorders, or
 epilepsy
 Diabetes (other
 than gestational
 diabetes)
 Hypertension


5. Please identify whether Birth Mother experienced or was diagnosed with any of the following
   conditions, illnesses, or occurrences during her pregnancy with the Plaintiff Child(ren). To the
   extent you check “Yes” to any item in the table below, please provide all corresponding
   information for that condition, illness or occurrence, as requested in the table below.


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Condition/I    Yes/   Affec Date/ Treatin   Treatin   Treati   Treati   Medications
llness/        No     ted   date  g         g         ng       ng       taken or
Occurrence            Child Range Physici   Physici   Physic   Physic   other
                                  an(s)     an’s      ian      ian      treatment
                                            Addres    Phone    Email    received for
                                            s         Numb              Condition/
                                                      er                Disease/Occu
                                                                        rrence
Gestational
Diabetes
Diagnosed
Infection,
including
but not
limited to
rubella or
measles,
mumps,
herpes
simplex,
Epstein
Barr,
bacterial
infections,
influenza,
coronavirus,
RSV, UTI
and/or
cytomegalov
irus
Prenatal
fever ≥
100.4
degrees
Threatened
pre-term
delivery,
pre-term
delivery,
pre-term
rupture of
membranes,
pre-term
contraction
or tocolytic
therapy

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Abnormal
birthing
presentation
during labor
(including
but not
limited to
face, brow,
breech,
shoulder,
and/or
forward-
facing
positions)
Fetal
distress,
birth injury,
or birth
trauma,
including
but not
limited to
umbilical
cord
complicatio
ns, or
asphyxia to
newborn
shortly
before or
during birth
Bleeding or
spotting
Preeclampsi
a
Cerclage

Migraine
and/or
chronic
headaches
that was
treated with
medication




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 Surgery
 during
 pregnancy
 Gestational
 hypertension
 A diagnosis
 of acute
 anxiety or
 depression


6. Has Birth Mother had any pregnancies that did not result in a live birth? [Y/N]

       Note: For purposes of answering this question, you only need to disclose miscarriages,
       still births, or terminations that were medically necessary or performed based on the advice
       of a medical professional to protect maternal or fetal physical health. Do not disclose
       elective terminations.

   a. If “Yes,” please fill out the information in the table below for each such pregnancy.

 Date range of     Date            Name of the healthcare      Reason that the pregnancy did
 pregnancy         pregnancy       provider and                not result in a live birth
                   was             hospital/facility that
                   concluded       treated Birth Mother
 (MM/YYYY –
 MM/YYYY)



7. Identify each pharmacy that has dispensed medication to Birth Mother for the period covering
   her pregnancy/pregnancies with each Plaintiff Child asserting claims in this case. For each
   pharmacy, please fill out all information requested in the table below.

 Pharmacy           Pharmacy           Name of            Reason for          Date Range
 Name               Address and        Medication         Medication          Pharmacy Used
                    Phone Number       Dispensed                              by Birth Mother




8. Other than the product(s) identified in Section II.B, above, identify each over-the-counter drug
   that Birth Mother took during her pregnancy with the Plaintiff Child(ren). For each such drug,
   please fill out all information requested in the table below.

 Name of    Manufacturer Dose and  Date                 Healthcare Reason          Identification
 Drug                    Frequency Range                Provider   for Use         of Relevant
                         of Use    Taken                that

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                                                       Directed                  Plaintiff
                                                       Use                       Child
                                                                                 [Drop Down]



9. Identify each supplement, including all vitamins, prenatal vitamins, nutritional supplements,
   and all herbal and homeopathic medications and remedies, that Birth Mother took during her
   pregnancy with the Plaintiff Child(ren). For each such supplement, please fill out the
   information requested in the table below.

 Name of    Manufacturer Dose and              Date     Healthcare Reason        Identification
 Supplement (if known)   Frequency             Range    Provider   for Use       of Relevant
                         of Use                Taken    that                     Plaintiff
                                                        Directed                 Child
                                                        Use
                                                                                 [Drop Down]



10. If the Plaintiff Child(ren) claim(s) ADHD as an injury: Did Birth Mother use any tobacco, in
    any form, at any time during her pregnancy with the Plaintiff Child(ren), or after, while
    breastfeeding? [Y/N]

   a. If “Yes,” please answer the following:

          i.   Type of tobacco:

         ii.   Which Plaintiff Child was in utero during tobacco use?

        iii.   Date on which Birth Mother began using tobacco:

        iv.    Date on which Birth Mother ceased using tobacco:

         v.    Amount of tobacco used while Plaintiff Child was in utero: ____ per day.

        vi.    Amount of tobacco used while breastfeeding: ____ per day

11. If the Plaintiff Child(ren) claim(s) ADHD as an injury: Did Birth Mother reside with any
    individual who smoked tobacco at any time during her pregnancy with the Plaintiff Child(ren),
    or after, while breastfeeding? [Y/N]

   a. If “Yes,” please answer the following:

          i.   Name of individual who smoked tobacco:

         ii.   Which Plaintiff Child was in utero or breastfed during the Birth Mother’s second
               hand exposure to this tobacco use?

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           iii.   Date(s) of residence with individual who smoked tobacco:

12. If the Plaintiff Child(ren) claim(s) ADHD as an injury: Did Birth Mother consume any alcohol,
    marijuana, or illicit drugs at any time during her pregnancy with the Plaintiff Child(ren), or
    after, while breastfeeding? [Y/N]

       a. If “Yes,” please fill out the following table:

 Substance          Method of          Amount         Approximate    Frequency During
                    Consumption        Consumed       Date(s) of     (how often) Pregnancy
                                                      Consumption                with which
                                                      (if known)                 Plaintiff
                                                                                 Child
                                                                                 [Drop-down]



13. Does the Birth Mother have any children, other than the Plaintiff Child(ren)? [Y/N]

       a. If “Yes”, please fill out the table below, including identification of whether any of the
          children below have been diagnosed with epilepsy, depression, anxiety, bipolar disorder,
          schizophrenia, or other affective/mood disorders or with any neurodevelopmental, or
          developmental disorders, including ASD or ADHD, and, if so, please provide the other
          requested information:

 Child Name
 Age
 Diagnosed with epilepsy, depression, anxiety,
 bipolar disorder, schizophrenia, or other
 affective/mood disorders, or with any
 neurodevelopmental, or developmental
 disorders, including but not limited to ASD or
 ADHD? [Y/N]
 If yes, identify the diagnosis



III.      BIOLOGICAL FATHER INFORMATION

[NTD: There may be cases with multiple biological fathers. The PFS form should have an
option for adding additional biological father profiles, and for linking each biological father
profile to the relevant Plaintiff Child(ren)]

A. Biological Father’s Identity and Background Information

1. Full name:

2. Do you have contact with Biological Father? [Y/N]

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3. Do you know the Biological Father’s identifying information? [Y/N]

4. Other names used, and dates Biological Father used those names:

                  Prior Name(s)                       Date(s) Used (MM/YYYY to MM/YYYY)




5. Date of Birth (MM/DD/YYYY):

6. Has Biological Father ever filed any other personal injury or product liability lawsuit or claim
   with respect to ASD, ADHD, or any other behavioral or neurodevelopmental disorder on
   behalf of the Plaintiff Child(ren)? [Y/N]

          i.   If “Yes,” please fill out the table below:

 Case          Jurisdiction   Date of     Nature      Injury      Status     Plaintiffs’ Which
 Name                         Filing      of Claim    Claimed                Counsel     Plaintiff
 and                                                                                     Child
 Number




B. Biological Father’s Medical Background and Social History

1. Has Biological Father been diagnosed, tested for or treated for ASD or ADHD? [Y/N]

   a. If “Yes,” please provide the following information for each such condition:

 Condition
 Diagnosis Date
 Treatment Date Range
 Name of Treating Healthcare
 Provider(s)
 Address and Phone Number
 for Healthcare Provider(s)
[Include option to insert additional tables as needed for additional conditions]

2. Does Biological Father have an immediate family history of ASD or ADHD? [Y/N]

   Note: For purposes of this question, “immediate family” includes parents and siblings.

   a. If “Yes,” please provide the following information:

 Name                    Date of Birth     Relationship to             Diagnosis
                                           Plaintiff Child(ren)

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3. Please indicate whether Biological Father’s medical history includes any of the following
   conditions, diseases or illnesses, whether in the past or currently. To the extent you check
   “Yes” to any item in the table below, please provide all corresponding information for that
   condition, disease or illness, as requested in the table below.

 Condition/Disease/Illness        Yes   No    Date of       Treating    Treating     Treating
                                              Diagnosis     Physician   Physician    Physician
                                                                        Address      Phone &
                                                                                     Email
 Depression, anxiety, bipolar,
 or other affective/mood
 disorders
 Seizures, seizure disorders,
 or epilepsy


4. Does Biological Father have any biological children, other than the Plaintiff Child(ren) or
   children with Birth Mother? [Y/N]

      a. If “Yes”, please fill out the table below, including identification of whether any of the
         biological Children below have been diagnosed with epilepsy, depression, anxiety, bipolar
         disorder, schizophrenia, or other affective/mood disorders, or with any
         neurodevelopmental , neurodevelopmental, or developmental disorders, including ASD or
         ADHD, and, if so, please provide the other requested information:

 Child Name
 Age
 Diagnosed with epilepsy, depression, anxiety,
 bipolar disorder, schizophrenia, or other
 affective/mood disorders or with any
 neurodevelopmental, or with any
 neurodevelopmental, or developmental
 disorders, including but not limited to ASD or
 ADHD? [Y/N]
 If yes, Identify Diagnosis
 Date of Diagnosis
[Option to add additional tables for additional children]


IV.      PLAINTIFF CHILD #

         [NOTE: Live form to create a new “Plaintiff Child” section for each Plaintiff Child
         identified in Section I.B.2, above.]

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A. Plaintiff Child’s Identifying and Background Information

1. Full name:

2. Other names by which Plaintiff Child has been known (including nicknames or aliases, to the
   extent that name would be used or reflected in the Plaintiff Child’s medical records):

3. Date of Birth (MM/DD/YYYY):

4. Approximate number of weeks Birth Mother was pregnant with Plaintiff Child:

5. Place of birth (City, State, Zip Code):

6. Age: [to be auto-populated once DOB is filled out]

7. Gender:

8. SSN:

9. Current address, if different than Birth Mother’s current address, and date when Plaintiff
   Child began living at this address:

10. Identify each prior address at which the Plaintiff Child has resided in the following:

 Address (Street Address,          Dates of Residence
 City, State, Zip Code,            (MM/YYYY to
 Country)                          MM/YYYY)




11. Current guardian:
    [Insert radio buttons: Birth Mother; Biological Father; Other: __________________]

B. Plaintiff Child’s Claimed Injury

1. Identify the injury or injuries claimed by the Plaintiff Child, and for each such injury, provide
   all information requested below.
   [Radio buttons: Autism Spectrum Disorder (ASD); Attention-Deficit/Hyperactivity Disorder
   (ADHD).]
   [Note: The information below should appear depending on the radio button clicked by
   Plaintiff.]

   a. If you selected ASD, please provide the following information:

          i.    Has the Plaintiff Child been diagnosed with ASD? [Yes/No/Tentative Diagnosis]

                •   Note: For purposes of this section, a “tentative diagnosis” is a diagnosis of ASD
                    made by a healthcare professional upon a medical finding that the child meets
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            the diagnostic criteria for ASD as of the time of the evaluation, but is too young
            to have a confirmed or final diagnosis of ASD.

  ii.   Provide the date of diagnosis, if any:

 iii.   Provide the name, address and phone number of the healthcare provider who
        diagnosed or tentatively diagnosed the Plaintiff Child.

  iv.   If the Plaintiff Child has not yet been diagnosed, please explain why:

  v.    Has any healthcare provider ever determined that the Plaintiff Child does not have
        ASD? [Y/N]

        •   If “Yes,” please provide the date of any such determination, and the name,
            address and phone number of the healthcare provider who reached that
            conclusion.

  vi.   Describe the symptoms or behaviors that caused the Plaintiff Child’s parent or
        guardian to either seek ASD treatment or diagnosis for Plaintiff Child, or to believe
        that the Plaintiff Child has ASD:

 vii.   Provide the date that the Plaintiff Child’s Birth Mother, Biological Father, or
        Guardian first (1) noticed the Plaintiff Child exhibiting symptoms or behaviors
        causing him or her to believe the Plaintiff Child has ASD; or (2) learned of the
        Plaintiff Child exhibiting such symptoms or behaviors from another person.

        •   Date (MM/YYYY): _________________

viii.   If the Birth Mother, Biological Father, or Guardian first learned of the Plaintiff
        Child’s symptoms or behaviors from another person, please identify that person,
        and provide the following information for him or her.

               Not applicable

               If applicable:

               •   Full Name: ________________________________

               •   Address: __________________________________

               •   Phone number (if known): ____________________

               •   Relationship to Plaintiff Child: _________________

  ix.   Has the Plaintiff Child undergone any cognitive or behavioral testing or
        assessments? If yes, please identify any such testing or assessment, and provide
        the approximate date of the testing or assessment and its results:


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       x.      Provide the following information for any healthcare providers who have treated,
               consulted, or conducted cognitive or behavioral testing or assessments on the
               Plaintiff Child with regards to the Plaintiff Child’s treatment or evaluation for ASD.

Healthcare         Healthcare Address            Contact           Time Period      Reason for
Professional       Provider’s                    Information       of Treatment     Treatment
Name               Specialty                     (Phone and
                                                 Email)




      xi.      If known, please identify the Level of Plaintiff Child’s ASD, as diagnosed by a
               medical professional:
               [Dropdown: Level 1 (“Requiring support”); Level 2 (“Requiring substantial
               support”); Level 3 (“Requiring very substantial support.”); (“Do not know”)]

  b. If you selected ADHD, please provide the following information:

        i.     Has the Plaintiff Child been diagnosed with ADHD? [Y/N]

       ii.     Provide the date of diagnosis, if any:

      iii.     Provide the name, address and phone number of the healthcare provider who
               diagnosed or tentatively diagnosed the Plaintiff Child.

      iv.      If the Plaintiff Child has not yet been diagnosed, please explain why:

       v.      Has any healthcare provider ever determined that Plaintiff Child does not have
               ADHD? [Y/N]

               •   If “Yes,” please provide the date of any such determination, and the name,
                   address and phone number of the healthcare provider who reached that
                   conclusion.

      vi.      Describe the symptoms or behaviors that caused you to either seek ADHD
               treatment or diagnosis for Plaintiff Child, or to believe that Plaintiff Child has
               ADHD:

      vii.     Provide the date that the Plaintiff Child’s Birth Mother, Biological Father, or
               Guardian first (1) noticed the Plaintiff Child exhibiting symptoms or behaviors
               causing him or her to believe the Plaintiff Child has ADHD; or (2) learned of the
               Plaintiff Child exhibiting such symptoms or behaviors from another person.

               Date (MM/YYYY): _________________




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       viii.    If the Birth Mother, Biological Father, or Guardian first learned of the Plaintiff
                Child’s symptoms or behaviors from another person, please identify that person,
                and provide the following information for him or her.

                       Not applicable

                       If applicable:

                       •   Full Name: ________________________________

                       •   Address: __________________________________

                       •   Phone number (if known): _____________________

                       •   Relationship to Plaintiff Child: _________________

        ix.     Has the Plaintiff Child undergone any cognitive or behavioral testing or
                assessments? If yes, please identify any such testing or assessment, and provide
                the approximate date of the testing or assessment and its results: Provide the
                following information for any healthcare providers who have treated, consulted, or
                conducted cognitive or behavioral testing or assessments on the Plaintiff Child with
                regards to the Plaintiff Child’s treatment or evaluation for ADHD.

 Healthcare        Healthcare Address            Contact           Time Period      Reason for
 Professional      Provider’s                    Information       of Treatment     Treatment
 Name              Specialty                     (Phone and
                                                 Email)




         x.     What type of ADHD does the Plaintiff Child have, as diagnosed by a medical
                professional?
                [Dropdown:       Combined type; Impulsive/hyperactive type; Inattentive and
                distractible type; Do not know]

2. Has any healthcare provider ever told you the cause or likely cause of Plaintiff Child’s ASD
   or ADHD? [Y/N]

   a. If “Yes,” provide the following information:

 Healthcare Professional      ASD/ADHD/Other          Reason             Information Provided
 Name                                                 Provided




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C. Plaintiff Child’s Medical History

1. Other than the healthcare providers identified in response to question IV.B.1, above, identify
   all healthcare providers who have examined, treated, or provided consultation to Plaintiff Child
   from birth to present and, for each, provide the information set forth in the table below.

 Healthcare       Healthcare Address            Contact           Time Period      Reason for
 Professional     Provider’s                    Information       of Treatment     Treatment
 Name             Specialty                     (Phone and
                                                Email)




2. Identify each medication that Plaintiff Child has been prescribed for treatment of his/her ASD
   or ADHD, and for each medication provide the information set forth in the table below.

 Medication Dose Date/Date Pharmacy            Pharmacy Pharmacy Prescribing Reason for
                 Range of Name                 Address  Phone    Healthcare Medication
                 Fills                                  Number   Professional



3. To the extent not identified in response to question IV.B.3, above, identify each pharmacy that
   has dispensed medication to Plaintiff Child since birth.

 Pharmacy Name                  Address and Phone               Date Range of Fills at
                                Number                          Pharmacy




4. Please indicate whether Plaintiff Child’s medical history includes any of the following
   conditions, diseases, or occurrences. To the extent you check “Yes” to any item in the table
   below, please provide all corresponding information for that condition, disease of illness, as
   requested in the table below.

 Condition/Disease/           Yes/No     Exact          Date of        Treating Physician
 Occurrence                   [Drop-     Diagnosis/     Diagnosis
                              down]      Disease/       or
                                         Occurrence     Procedure
 Low Birth Weight (under
 5.5 lbs)
 Auto-immune diseases
 (including but not limited
 to Crohn’s disease,
 Ulcerative Colitis)

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 Genetic syndromes
 (including but not limited
 to Down syndrome,
 Fragile X syndrome,
 Phelan McDermid
 syndrome, PTEN
 Hamartoma syndrome,
 Rett syndrome, Prader-
 Willi and Angelman)
 Seizures, seizure
 disorders, or epilepsy
 Communication deficit or
 delay (e.g., hearing,
 speech, language)
 Depression, anxiety,
 bipolar, or other
 affective/mood disorders
 Neurocognitive,
 neurodevelopmental or
 other psychiatric
 diagnoses (other than
 ASD and ADHD)



5. Has Plaintiff’s Birth Mother, Biological Father, the Plaintiff Child, or any of Plaintiff Child’s
   biological siblings (if any), undergone microme array or exome sequencing genetic testing?
   [Y/N]

   a. If “Yes” please fill out the table below.

 Name of Person       Health Care       Genetic Tests    Reason        Date(s) of           Results
 who Underwent        Provider          Ordered          Genetic Tests Testing
 Genetic Testing      Name                               Were
                                                         Ordered




D. Plaintiff Child’s Family History

1. To your knowledge, does Plaintiff Child have any biological family members, including
   grandparents, parents, siblings, aunts, uncles, or cousins, with any of the following genetic
   syndromes? If yes, please provide the information set forth in the table below.




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    Genetic Syndrome            Y/N       Family Member’s            Family         Relationship
                               [Drop-          Name                 Member’s         to Plaintiff
                               down]                               Current Age          Child
                                                                    (Actual or
                                                                   Approximate)
 Down syndrome

 Fragile X syndrome

 Phelan McDermid
 syndrome
 PTEN Hamartoma
 syndrome
 Rett syndrome

 Prader-Willi syndrome

 Angelman syndrome

 Other:________________
 (fill in name)


E. Plaintiff Child’s Education and Abilities

1. Identify each school or other educational institution Plaintiff Child has attended by filling out
   all portions of the table below.

 Name of School or        City, State               Grade Levels            Years of Enrollment
 Institution                                        Attended for




2. Has Plaintiff Child been provided with an Individualized Education Program (IEP), 504 plan,
   or other formal accommodation by any past or present school? [Y/N]

   a. If “Yes,” please fill out the table below.

 Name of            Type of       Date of               Services or    Diagnosis/Condition
 School/Institution accommodation approval              Accommodations for Which Services
                                                        Provided       or Accommodations
                                                                       were Provided


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                        [Drop-down:
                        IEP, 504, Other]



  b. If “No,” does the Plaintiff Child participate in a formal Early Intervention Program? [Y/N]

Name of            Type of       Date of              Services or    Diagnosis/Condition
School/Institution accommodation approval             Accommodations for Which Services
                                                      Provided       or Accommodations
                                                                     were Provided
                        [Drop-down:
                        IEP, 504, Other]



  c. If you answered “Yes,” to either Question 2.a, or 2.b, above, was the Plaintiff Child
     assessed or evaluated with respect to the creation or approval of his/her IEP, 504, formal
     accommodation, or enrollment in the Early Intervention Program?

        i.      If “Yes,” identify who evaluated the Plaintiff Child, when, and provide the address
                and phone number for this individual:

Name of Evaluator(s)               When Evaluation was             Address and Phone Number
                                   Performed                       of Evaluator




  d. Other than any assistance identified in response to Section IV.E.1 and IV.E.2, above,
     does Plaintiff Child require the assistance of a home care aide or other attendant to assist
     in education or daily activities because of his or her ASD or ADHD? [Y/N]

             i. If “Yes,” please provide the full name, address phone number, and responsibilities
                for that person:

Name                               Company/Employer                Responsibilities




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V.      DOCUMENT REQUESTS


A. Records Evidencing Purchase, APAP Use and Alleged Injury

    The documents requested in this section are documents that you are required to produce either
(a) with your Fact Sheet, or (b) as a supplemental production after you produce your Fact Sheet, if
you do not have the documents in your possession at the time you produce your Fact Sheet. For
purposes of responding to the questions in this section, documents are “Accessible” if they are (1)
in your possession, or (2) accessible via a request directed at the appropriate person and/or entity.
For the documents listed in this section, if you do not currently have the documents requested in
your possession, you must request the records prior to or no later than 14 days of submitting this
Fact Sheet. Once received, you should supplement your records production as promptly as
possible.

1. All documents evidencing your purchase, or someone else’s purchase on your behalf or on
   behalf of Birth Mother, of the APAP products identified in Section II.B, above, including
   receipts, credit card statements, loyalty/rewards records reflecting the purchase of the APAP
   products, or medical records referencing Birth Mother’s APAP use during pregnancy.
   [Document(s) produced/Document(s) requested, and will be produced upon
   receipt/Document(s) will be requested in the next fourteen (14) days, and will be produced
   upon receipt/No such document(s) exist(s)/Document(s) is/are no longer Accessible.]

2. Photographs or copies of any APAP product packaging or bottle reflecting the products
   identified in Section II.B, above.

        Note: In the event you have the product packaging or bottle, and do not have a photograph
        or copy of it, please take a photograph of the bottle or packaging (including all aspects of
        the bottle or packaging, so that the full label and packaging information are legible), or
        make a copy of the packaging, and produce that with your PFS. Any such bottle or
        packaging should separately be preserved.

     [Document(s) produced/Plaintiff(s) no longer have the APAP products at issue]

3. Medical records evidencing the Plaintiff Child’s final or tentative diagnosis with ASD and/or
   ADHD.
   [Document(s) produced/Document(s) requested, and will be produced upon
   receipt/Document(s) will be requested in the next fourteen (14) days, and will be produced
   upon receipt/No such document(s) exist(s)/Document(s) is/are no longer Accessible.]

4. OB/GYN records for the Birth Mother, covering the period of Birth Mother’s pregnancy with
   the     Plaintiff   Child(ren)     through      delivery     and      post-partum     care.
   [Document(s) produced/Document(s) requested, and will be produced upon
   receipt/Document(s) will be requested in the next fourteen (14) days, and will be produced
   upon receipt/No such document(s) exist(s)/Document(s) is/are no longer Accessible.]



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5. To the extent any claims are asserted in a representative capacity, other than by a custodial
   parent, on behalf of any Plaintiff Child(ren) or any “Other” Plaintiff in these proceedings,
   documentation sufficient to establish the representative’s capacity and/or authority to assert
   any such claims.
   [Document(s) produced/Document(s) requested, and will be produced upon
   receipt/Document(s) will be requested in the next fourteen (14) days, and will be produced
   upon receipt/No such document(s) exist(s)/Document(s) is/are no longer Accessible.]


B. Other Records

    The documents set forth in this section must be produced if they are in your, or your counsel’s,
custody or possession. In responding to the questions below, please indicate whether you possess
the documents identified below and, if you check “Yes,” attach a copy of the documents to this
Plaintiff Fact Sheet. Nothing in this section precludes Defendants’ from requiring these
documents, if they are Accessible, at a later point as described in the Court’s Order: Plaintiff Fact
Sheets (DE ___ at ¶ 5).

1. All non attorney-client privileged documents you reviewed in the preparation of answers to
   this                        Plaintiff                   Fact                        Sheet.
   [Document(s) produced/No such document(s) exist(s)]

2. A copy of all medical records, testing records, treatment records, therapy records, and/or
   documents from any healthcare provider, counselor, therapist, or social worker who has treated
   or worked with the Plaintiff Child(ren) for ASD, ADHD, or any other neurodevelopmental
   disorder referred to in your responses above. (Do not provide duplicate records if these have
   been provided in response to another question.)
    [Document(s) produced/No such document(s) exist(s)/No such document(s) in my possession]

3. Copies of any advertisements or promotions for the APAP products identified in Section II.B
   upon which Birth Mother claims to have relied in selecting and deciding to take the APAP
   products identified in Section II.B, above.
   [Document(s) produced/No such document(s) exist(s)/No such document(s) in my possession]

6. Copies of any cognitive or behavioral testing or assessments performed in relation to any final
   or tentative diagnosis of ASD and/or ADHD claimed by Plaintiff Child in Section IV.B, above.
   [Document(s) produced/No such document(s) exist(s)/No such document(s) in my possession]

7. Genetic testing, results, and diagnostic records for Birth Mother, Birth Father, the Plaintiff
   Child(ren) and any siblings of the Plaintiff Child(ren) relating to assessments and testing for
   ASD, ADHD, or any other neurodevelopmental disorder.
   [Document(s) produced/No such document(s) exist(s)/No such document(s) in my possession]

4. A copy of all genetic testing records for the Plaintiff Child(ren), Birth Mother, and/or
   Biological Father.
   [Document(s) produced/No such document(s) exist(s)/No such document(s) in my possession]


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5. All documents obtained directly or indirectly from any of the Defendants relating to this case,
   the claims asserted in this case, or the APAP products at issue in this case.
   [Document(s) produced/No such document(s) exist(s)]

6. All applications for government assistance, Independent Education Programs, or other services
   or accommodations applied for by or on behalf of the Plaintiff Child directly related to his/her
   ASD and/or ADHD, as identified in Section IV.E, above.
   [Document(s) produced/No such document(s) exist(s)/No such document(s) in my possession]

7. All documents constituting communications or correspondence between you and any
   representative of the Defendants.
   [Document(s) produced/No such document(s) exist(s)]

8. Copies of all public statements made by or on behalf of you, Birth Mother, Biological Father,
   the Plaintiff Child(ren) or any Other Plaintiff relating to this litigation.
   [Document(s) produced/No such document(s) exist(s)]

9. Copies of any Individualized Education Program, 504 plan, and documentation of any special
   educational accommodations or modifications, identified by you in Section IV.E, above.
   [Document(s) produced/No such document(s) exist(s)/No such document(s) in my
   possession]

   C. Authorizations

1. Health Care Authorization: For each health care provider identified in the responses above,
   please provide a completed and signed (but undated) Health Care Authorization in the form
   attached as Exhibit A.

2. Psychiatric/Psychotherapy Notes Authorization: For each psychologist, psychiatrist or
   psychotherapist identified in the responses above, please provide a completed and signed (but
   undated) Psychiatry/Psychotherapy Authorization in the form attached as Exhibit B.

3. Education Authorization: For each school identified in Section IV.E.1, above, please
   provide a completed and signed (but undated) School/Education Authorization in the form
   attached as Exhibit C.

4. Medicare: Please provided a completed and signed (but undated) Medicare Authorization in
   the form attached as Exhibit D.

5. Social Security Authorization: To the extent any Plaintiff has in the past or currently receives
   Social Security benefits as a result of or relating to the injuries alleged in this case, please
   provided a completed and signed (but undated) Social Security authorization in the form
   attached as Exhibit E.




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VI.    VERIFICATION

Pursuant to 28 U.S.C. § 1746, I declare that all of the information provided in connection with this
Plaintiff Fact Sheet is true and correct to the best of my knowledge, information, and belief, that I
have supplied or will supply all documents requested in Part V of the Plaintiff Fact Sheet, to the
extent that such documents are in my possession or in the possession of my lawyers, and that I
have supplied or will supply the Authorizations attached to this declaration.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on ___/___/______.


                                               Name ________________________________
                                                            (please print)


                                                _____________________________________
                                                               Signature




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                HIPAA COMPLIANT AUTHORIZATION FORM TO DISCLOSE HEALTH INFORMATION
                                      (Pursuant to 45 C.F.R. 164.508)

To: __________________________________________________________________________________________

Patient Name:___________________________________SSN:___________________DOB:___________________

I, _____________________________________________, hereby authorize you to release and furnish copies of the following
information to:

                                                                                    Attorneys for Defendant(s) and/or its authorized
         representatives, including but not limited to                                                                           .

This form authorizes the physicians, psychiatrists, psychologists, dentists, nurses, chiropractors, therapists, hospitals, pharmacies,
clinics, nutritionists, dieticians, physical therapists, laboratories, weight loss centers, homeopaths, dispensaries, home health care
providers or any other medical facility or health care provider, school or state, federal or local governmental unit (such as the Social
Security Administration) to release any and all medical records, reports, x-rays, photographs, notes, bills, payment schedules,
prescriptions or any other results of investigation, diagnosis, treatment or prognosis whether in paper or electronic form. This
authorization shall extend to any medical condition, past or present.

    •      All records, including inpatient, outpatient, and emergency room treatment, all clinical charts, reports, documents,
           correspondence, x-rays, diagnostic records, test results, statements, questionnaires/histories, office and doctor's handwritten
           notes, and records created or received by you or other physicians or staff, as well as all autopsy, laboratory, histology,
           cytology, pathology, radiology, CT Scan, MRI, diagnostic reports, genetic scans.
    •      All radiology films, ultrasounds, genetic material, mammograms, myelograms, CT scans, photographs, bone scans,
           pathology/cytology/histology/autopsy/immunohistochemistry specimens, and diagnostic material.
    •      All pharmacy/prescription records including NDC numbers and drug information handouts/monographs.
    •      All billing records including all statements, itemized bills, and insurance records.

    1.   This authorization is being forwarded by, or on behalf of, my attorneys or attorneys for the defendants. You are not authorized
         to discuss any aspect of the above-named person's medical history, care, treatment, diagnosis, prognosis, information
         revealed by or in the medical records, or any other matter bearing on his or her medical or physical condition, unless you
         receive and additional authorization permitting such discussion. Subject to all applicable legal objections, this restriction does
         not apply to discussing my medical history, care, treatment, diagnosis, prognosis, information revealed by or in the medical
         records, or any other matter bearing on my medical or physical condition at a deposition or trial.

    2.   I understand that the information may include information relating to sexually transmitted disease, acquired immunodeficiency
         syndrome (AIDS), or human immunodeficiency virus (HIV). It may also include information about behavioral or mental health
         services, and treatment for alcohol and drug abuse.

    3.   I understand that I have the right to revoke this authorization at any time. I understand that if I revoke this authorization I must
         do so in writing and present my written revocation to the health information management department. I understand the
         revocation will not apply to information that has already been released in response to this authorization. I understand the
         revocation will not apply to my insurance company when the law provides my insurer with the right to contest a claim under
         my policy. Unless otherwise revoked, this authorization will expire three (3) years from the date of execution.

    4.   I understand that authorizing the disclosure of this health information is voluntary. I understand that the covered entity to
         whom this authorization is directed may not condition treatment, payment, enrollment or eligibility benefits on whether or not
         I sign this document. I understand I may inspect or copy the information to be used or disclosed as provided in CFR 164.524. I
         understand that any disclosure of information carries with it the potential for an unauthorized re-disclosure and the
         information may not be protected by federal confidentiality rules. If I have questions about disclosure of my health
         information, I can contact the releaser indicated above.
    5.   A notarized signature is not required. CFR 164.508. A copy of this authorization may be used in place of an original.

         ___________________                             ____________________________________
         Date                                                          Signature

         If not signed by Patient, complete below:
         Name:                                           Describe authority:
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                                PSYCHOTHERAPY NOTES AUTHORIZATION

 AUTHORIZATION FOR THE USE AND DISCLOSURE OF PROTECTED HEALTH INFORMATION

ACKNOWLEDGEMENT: I understand and acknowledge that this Authorization is necessary to comply with state
and federal laws pertaining to the use and disclosure of protected health/medical information (“PHI”) about the
Patient identified below, and that failure to provide all requested information may prevent a health care provider from
acting on this Authorization.

Name of Patient:                                                             DOB: _________________

1. PERSONS AUTHORIZED TO DISCLOSE PHI. I authorize the following to disclose psychotherapy notes
    (defined below) pertaining to the Patient identified above as described in Section 2:
    _________________________________________________________________________________________
    ________________________________________________________________________________________

     PSYCHOTHERAPY NOTES DEFINITION: Notes recorded in any medium by a health care provider
     who is a mental health professional documenting or analyzing the contents of conversation during a private
     counseling session or a group, joint, or family counseling session and that are separated from the rest of the
     individual’s medical record. Psychotherapy notes excludes medication prescription and monitoring,
     counseling session start and stop times, the modalities and frequencies of treatment furnished, results of
     clinical tests, and any summary of the following items: diagnosis, functional status, the treatment plan,
     symptoms, prognosis, and progress to date. (45 CFR § 164.501)

2. DESCRIPTION OF INFORMATION. This Authorization permits the use and disclosure of the information
    about the Patient identified above, dated ______________ to present or created within that timeframe, contained
    in the following records:

    All psychotherapy notes pertaining to Patient identified above.

This Authorization also permits ____________________________ to communicate regarding the information
identified above for the purposes described in Section 4, including giving information in writing, by phone, and/or at
meetings, or engaging in other related written and verbal communications in this matter.

3. AUTHORIZED USERS AND RECIPIENTS. I hereby authorize the following persons and classes of persons
    to receive and use the health information described in Section 2 above:
                                        and its representatives, employees, and agents including but not limited to
                                                                                   . This document also authorizes
    the further disclosure and use of any information covered herein between and among any persons involved in the
    evaluation or adjudication of claims in this matter as described in Section 4.

4. PURPOSE. I hereby authorize the information checked in Section 2 above to be used and disclosed for the
    following purposes:

    Evaluation and adjudication of claims in In Re Acetaminophen – ASD/ADHD Products Liability Litigation, and/or
    any administrative or judicial proceedings involving the claims alleged in that action and/or any other claims
    arising from the facts alleged in that action; and/or any settlement conference or mediation proceeding involving
    the claims alleged in that action and/or any other claims arising from the facts alleged in that action; and/or any
    dispositive motions filed in that action; and/or any other adjudication of claims in that action, including at trial.

5. RIGHT OF REVOCATION. I understand that I have the right to revoke this Authorization at any time,
    provided that my revocation is in writing. The revocation should be addressed to
                                                                                                                       .
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6. LIMITS TO REVOCATION. I understand that my revocation will be effective upon its receipt by the person(s)
   I authorized in Section 1, but would not be effective to the extent that such persons have acted in accordance with
   this Authorization and in reliance thereon. With respect to the person(s) I authorized to receive and use health
   information described in Section 3, if a patient (or personal representative) requested this Authorization, a
   revocation will be effective only when I communicate my revocation directly to them.

7. REDISCLOSURE. I understand that if a recipient of my information in Section 3 above is not a healthcare
   provider, a health plan or health care clearing house, or not an entity required to comply with federal or state
   health privacy regulations, the requested health information may be further disclosed by such recipient and that
   information may no longer be protected by state and federal laws. If this Authorization includes the disclosure of
   substance abuse information, the recipient may be prohibited from disclosing the substance abuse information
   under federal substance abuse confidentiality requirements.

8. RIGHT TO REFUSE TO SIGN. I understand I do not have to sign this Authorization, and my failure to sign
   this authorization will not affect the Patient’s ability to obtain health care treatment, payment, enrollment, or
   eligibility for benefits.

9. DURATION. This Authorization will expire at the end of three (3) years from the date below.

   Upon expiration, written information received per this Authorization will be returned or destroyed.

10. COPY OF AUTHORIZATION. I have the right to receive a copy of this Authorization.




 Signature of Patient (or personal representative, if applicable)       Date


 Print name of personal representative (if applicable) (Legal           Relationship to Patient
 representative, parent, guardian, spouse, financially responsible
 party)


 Address                                                                Date of Birth




              ATTENTION RECIPIENT: ANY DISCLOSURE OF MEDICAL RECORD
                INFORMATION BY THE RECIPIENT IS PROHIBITED EXCEPT
                  WHEN IMPLICIT IN THE PURPOSE OF THIS DISCLOSURE
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                                              Authorization to Use or Disclose Information
          I hereby authorize the disclosure and use of the information described below, which may include educational records and
individually identifiable health information that is ordinarily protected from disclosure and use by federal and state law. I understand
this authorization is voluntary. I understand that if the organization or persons authorized to receive the information is not a health plan or
health care provider, the released information may no longer be protected by federal privacy regulations.

   Patient/Student Name:
   Date of Birth:
   Address:

Persons/organizations providing the information:                        Persons/organizations receiving the information:




You are authorized and directed to provide copies of all records relating to the above former or current student, whether electronic or otherwise,
including, but not limited to:

 1.       All correspondence regarding student including: letters, emails, video, recordings, and facsimiles. This shall include internal
          correspondence (i.e., emails between representatives of the responding party) as well as correspondence sent to or received from
          student, his/her parents, or any medical, educational, or behavioral provider.

 2.       All medical records related to student, including: reports; results of testing, assessment, evaluation, and/or examination; records of
          hospitalization or consultation; x-rays, photographs, EKGs and/or labs; psychiatric, psychological, counseling, or other mental health
          records of any kind; notes, histories, or summaries; records of medications taken, administered, or prescribed; treatment plans;
          admission and discharge records; any documents containing diagnoses; and any documents containing conclusions or
          recommendations.

 3.       All educational records related to student including: academic reports; results of testing, assessment, evaluation, and/or examination;
          records showing present levels of performance; records showing goals and objectives; records showing progress and/or how it is
          monitored; records describing the curriculum and/or methodology being used; report cards; schedules; notes or summaries;
          educational plans of any kind; behavior plans; individualized education program (IEP), tutoring and/or special classes recommended,
          participation in extra-curricular activities, any documents containing determinations regarding the existence, nature, or severity or a
          disability; and any documents containing conclusions or recommendations.

 4.       All records concerning all therapies related to student, including: behavioral, physical, speech, language, occupational, audial and
          vision therapy.

 5.       All financial records regarding student, including: invoices, bills, statements, notices, loan documents, and insurance documents.

 6.       All contracts (i.e., tuition agreements, loan agreements, agreements with private providers) regarding student.

Reason for use or disclosure of information:

   Pending litigation


I understand that the student will not be denied health care or health plan coverage, as the case may be, if I do not sign this form.

I understand that I may see and copy the information described on this form if I ask for it, and that I get a copy of this form after I sign it.

I hereby discharge the releasing facility, its agents and employees from any and all liabilities, responsibilities, damages, and claims which
might arise from the release of information authorized herein, to include alcohol, drug abuse, communicable disease including HIV status,
and/or psychiatric diagnoses compiled during my visit, encounter or hospitalization, or make copies thereof in accordance with the policies of
this facility and agree to the release of my medical of billing records containing the sensitive information listed.

I understand that this authorization will expire three (3) years after the date below.

I understand that I may revoke this authorization at any time by notifying the person or organization providing the information in writing, but
if I do, such revocation will not affect any actions taken before the revocation is received.



Patient/Student’s Legal Guardian                                                                         Date
(Please print and sign)
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Case
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Social Security Administration                                                                                      Form Approved
Consent for Release of Information                                                                                  0MB No. 0960-0566

Instructions for Using this Form
Complete this form only if you want us to give information or records about you , a minor, or a legally incompetent adult, to an
individual or group (for example, a doctor or an insurance company) . If you are the natural or adoptive parent or legal guardian,
acting on behalf of a minor child, you may complete this form to release only the minor's non-medical records . We may charge a
fee for providing information unrelated to the administration of a program under the Social Security Act.
NOTE: Do not use this form to :
• Request the release of medical records on behalf of a minor child . Instead , visit your local Social Security office or call our toll-
  free number, 1-800-772-1213 (TTY-1-800-325-0778) , or
• Request detailed information about your earnings or employment history. Instead, complete and mail form SSA-7050-F4. You
  can obtain form SSA-7050-F4 from your local Social Security office or online at www.ssa.gov/oniine/ssa-7050.pdf .

.!:low to Complete this Form
We will not honor this form unless all required fields are compieted . An asterisk (*) indicates a required field . Also, we will not
honor blanket requests for "any and all records" or the "entire file." You must specify the information you are requesting and you
must sign and date this form. We may charge a fee to release information for non-program purposes.

• Fill in your name, date of birth , and social security number or the name, date of birth , and social security number of the person
  to whom the requested information pertai ns .
• Fill in the name and address of the person or organization where you want us to send the requested information .
• Specify the reason you want us to release the information .
• Check the box next to the type(s) of information you want us to release including the date ranges , where applicable.
• For non-medical information , you , the parent or the legal guardian acting on behalf of a minor child or legally incompetent adult,
  must sign and date this form and provide a daytime phone number.
• If you are not the individual to whom the requested information pertains, state your relationship to that person . We may require
  proof of relationsh ip.


                                                     PRIVACY ACT STATEMENT
Section 205(a) of the Social Security Act. as amended , authorizes us to collect the information requested on this form . We will
use the information you provide to respond to your request for access to the records we maintain about you or to process your
request to release your records to a th ird party. You do not have to provide the requested information . Your response is
voluntary: however, we cannot honor your request to release information or records about you to another person or organization
without your consent. We rarely use the information provided on this form for any purpose other than to respond to requests for
SSA records information . However, the Privacy Act (5 U S.C. § 552a(b)) permits us to disclose the information you provide on this
form in accordance with approved routine uses, which include but are not limited to the followin g:

1.To enable an agency or third party to assist Social Security in establishing rights to Social Security benefits and or coverage;
2.To make determinations for eligibility in similar health and income maintenance programs at the Federal, State, and local level;
3.To comply with Federal laws requiring the disclosure of the information from our records ; and,
4.To facilitate statistical research , audit, or investigative activities necessary to assure the integrity of SSA programs.
We may also use the information you provide when we match records by computer. Computer matching programs compare our
records with those of other Federal, State, or local government agencies. We use information from these matching programs to
establish or verify a person's eligibility for Federally-funded or administered benefit programs and for repayment of incorrect
payments or overpayments under these programs. Additional information regarding this form, routine uses of information , and
other Social Security programs is available on our Internet website, www .socialsecurity.gov, or at your local Social Security office.



                                           PAPERWORK REDUCTION ACT STATEMENT
This information collection meets the requirements of 44 U.S.C. § 3507, as amended by section 2 of the Paperwork ·Reduction
Act of 1995. You_do not, ne~d t~ ~nswer th~se q_ue~tio~s unless we display a valid Office 9f Management and Budget control
number. We estimate tnat It will take about 3 minutes to read the InstructIons, gather the racts, and answer the questions. SEND
OR BRING THE COMPLETED FORM TO YOUR LOCAL SOCIAL SECURITY OFFICE. You can find your local Social
~ecurity office thro1:1gh .SSA's website at www.socialsecurity .gov. Offices are also listed under U.S. Government agencies
m your telephone directory or you may call 1-800-772-1213 (TYY 1-800-325-0778). You may send comments on our time
estimate above to: SSA, 6401 Security Blvd ., Baltimore, MD 21235-6401 . Send only comments relating to our time estimate
to this address, not the completed form.

Form SSA-3288 (11-2016) uf
Destroy Prior Editions
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Social Security Administration                                                                                    Form Approved
Consent for Release of Information                                                                                0MB No. 0960-0566
You must complete all required fields. We will not honor your request unless all required fields are completed. (*Signifies a
required field. **Please complete these fields in case we need to contact you about the consent form) .
TO: Social Security Administration

                *My Full Name                            *My Date of Birth                    *My Social Security Number
                                                           (MMIDD/YYYY)
I authorize the Social Security Administration to release information or records about me to:
*NAME OF PERSON OR ORGANIZATION:                                       *ADDRESS OF PERSON OR ORGANIZATION:




*I want this information released because:
 We may charge a fee to release information for non-program purposes .




*Please release the following information selected from the list below:
 Check at least one box. We will not disclose records unless you include date ranges where applicable.

1.  D Verification of Social Security Number
2.  D Current monthly Social Security benefit amount
3. D Current monthly Supplemental Security Income payment amount
4 . D My benefit or payment amounts from date _ _ _ _ _ to date _ _ _ __
5. D My Medicare entitlement from date _ _ _ _ _ to date _ _ _ __
6. D Medical records from my claims folder(s) from date_ __ _ _ to date _ _ __ _
         lf you want us to release a minor child's medical records, do not use this form . Instead, contact your local Social
         Security office.
7. D Complete medical records from my claims folder(s)
8.   D Other record(s) from my file (We will not honor a request for "any and all records" or "the entire file ." You must specify
        other records: e.g., consultative exams, award/denial notices, benefit applications. appeals, questionnaires,
        doctor reports , determinations .)
         Applications, questionnaires, determinations, awards, denials, appeals, doctor reports, and consultative exams


I am the individual, to whom the requested information or record applies, or the parent or legal guardian of a minor, or the
legal guardian of a legally incompetent adult. I declare under penalty of perjury (28 CFR § 16.41(d)(2004) that I have examined
all the information on this form and it is true and correct to the best of my knowledge. I understand that anyone who knowingly
or willfully seeking or obtaining access to records about another person under false pretenses is punishable by a fine of up to
$5,000. I also understand that I must pay all applicable fees for requesting information for a non-program-related purpose.

*Signature:                                      *Date:

**Address:
           --------------------------            **Daytime Phone:
           --------------------------
Relationship (if not the subject of the record):
                                                                 --------
                                                                                            **Oaytime Phone:
                                                      - ------------                                           - - - - - - - --
Witnesses must sign this form ONLY if the above signature is by mark (X) . If signed by mark (X), two witnesses to the signing
who know the signee must sign below and provide their full addresses. Please print the signee's name next to the mark (X) on the
signature line above.

1.Signature of witness                                                2.Signature of witness


Address(Number and street.City.State, and Zip Code)                  Address(Number and street,City,State, and Zip Code)


Form SSA-3288 (11-2016) uf
